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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 JANE DOE 1 et al.,

        Plaintiffs,

 v.                                                          Civil Action No. 17-cv-1597 (CKK)

 DONALD J. TRUMP et al.,

        Defendants.


                           DEFENDANTS’ NOTICE OF APPEAL

       Notice is hereby given that all Defendants appeal to the United States Court of Appeals for

the District of Columbia Circuit from this Court’s Order of August 6, 2018, ECF No. 156, denying

Defendants’ motion to dissolve the preliminary injunction.

Dated: August 27, 2017                        Respectfully submitted,

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